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                     Exhibit 1
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                                                                    Haddon, Morgon and Foreman, P.c
                                                                                  Jeffrey S. Pagliuca
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              May 18, 20 16

              VIA EMAIL

              Meredith Schultz, Esq.
              Boies, Schiller & Flexner LLP
              401 E. Las Olas Boulevard, Ste. 1200
              Ft. Lauderdale, FL 33301
              mschultz@bsfllp.com

              Re:    Giuffre v. Maxwell

              Dear Ms. Schultz:

              Pursuant to paragraph 11 of the Protective Order in this case Ms. Maxwell
              disputes the confidential designation of documents produced by Ms. Maxwell
              to the Plaintiff, GM 748-849. Your email does not provide any good faith
              basis for the assertion, likely because there is none. GM 748-840 are various
              police reports that have been publicly available for years. GM 841-849 are
              public comments about your client's story which are available to the world by
              a simple Google search.

              This designation, done without any good faith basis, is another disappointing
              example of the lack of professionalism demonstrated by Plaintiff in this case.
              Please withdraw it immediately.

              Very     ly yours,




              JSP/BR
